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                                                                                                   United States Bankruptcy Court
                                                                                                        Southern District of Texas

                                                                                                           ENTERED
                                                                                                         January 23, 2023
                         IN THE UNITED STATES BANKRUPTCY COURT                                          Nathan Ochsner, Clerk
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                      §
In re:                                §      Chapter 11
                                      §
CORE SCIENTIFIC, INC., et al.,        §      Case No. 22- 90341 (DRJ)
                                      §
                                      §      (Jointly Administered)
                   1
          Debtors.                    §
                                      §
                 FINAL ORDER (I) AUTHORIZING DEBTORS
               TO PAY (A) CRITICAL VENDOR CLAIMS, AND
         (B) LIEN CLAIMS; AND (II) GRANTING RELATED RELIEF
                                    'RFNHW1R
          8SRQWKHPRWLRQGDWHG'HFHPEHU WKH³Motion´ RI&RUH6FLHQWLILF,QF

and its affiliated debtors in the above-captioned chapter 11 cases, as debtors and debtors in

SRVVHVVLRQ FROOHFWLYHO\WKH³Debtors´ IRUHQWU\RIDQRUGHUSXUVXDQWWRVHFWLRQV D  E 

and 541 of the Bankruptcy Code, Bankruptcy Rule 6004, and Bankruptcy Local Rule 9013-1, for

entry of interim and final orders (i) authorizing, but not directing, the Debtors to pay, in the

ordinary course of business, in their sole discretion and based on their sound business judgment,

prepetition (a) Critical Vendor Claims, and (b) Lien Claims, and (ii) granting related relief, all as

more fully set forth in the Motion; and upon consideration of the Bros Declaration; and this Court

having jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C. §

1334; and consideration of the Motion and the requested relief being a core proceeding pursuant

to 28 U.S.C. § 157(b); and it appearing that venue is proper before this Court pursuant to 28 U.S.C.


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    The Debtors in these chapter 11 cases, along with WKHODVWIRXUGLJLWVRIHDFK'HEWRU¶VIHGHUDOWD[LGHQWLILFDWLRQ
    number, are as follows: Core Scientific Mining LLC (6971); Core Scientific, Inc. (3837); Core Scientific Acquired
    Mining LLC (N/A); Core Scientific Operating Company (5526); Radar Relay, Inc. (0496); Core Scientific Specialty
    Mining (Oklahoma) LLC (4327); American Property Acquisitions, LLC (0825); Starboard Capital LLC (6677);
    RADAR LLC (5106); American Property Acquisition I, LLC (9717); and American Property Acquisitions, VII,
    LLC (3198). 7KH 'HEWRUV¶FRUSRUDWH KHDGTXDrters and service address is 210 Barton Springs Road, Suite 300,
    Austin, Texas 78704.


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§§ 1408 and 1409; and due and proper notice of the Motion having been provided; and such notice

having been adequate and appropriate under the circumstances, and it appearing that no other or

further notice need be provided; and this Court having reviewed the Motion; and this Court having

held a hearing to consider the relief requested in the Motion; and all objections, if any, to the

Motion having been withdrawn, resolved, or overruled; and this Court having determined that the

legal and factual bases set forth in the Motion establish just cause for the relief granted herein; and

it appearing that the relief requested in the Motion is in the best interests of the Debtors and their

respective estates and creditors; and upon all of the proceedings had before this Court and after

due deliberation and sufficient cause appearing therefor,

               IT IS HEREBY ORDERED THAT

               1.      The Debtors are authorized, but not directed, in the reasonable exercise of

their business judgment, to honor, pay, or otherwise satisfy the prepetition Critical Vendor Claims

(or a portion thereof) in an amount not to exceed $400,000.

               2.      The Debtors are authorized, but not directed, in the reasonable exercise of

their business judgment, to honor, pay, or otherwise satisfy the prepetition Lien Claims (or a

portion thereof) in an amount not to exceed $400,000.

               3.      The Debtors are authorized, but not directed, to condition payment of the

Vendor Claims (including Critical Vendor Claims) upon entry into corresponding Vendor

Agreements in the exercise of their reasonable business judgment.

               4.      The Debtors shall undertake all appropriate efforts to cause the Critical

Vendors to enter into a Vendor Agreement, substantially in the form annexed to the Motion as

Exhibit C, with the Debtors as a condition of payment of each such Critical Vendor Claim. The

Debtors, in consultation with the Official Committee of Unsecured Creditors appointed in these

FKDSWHUFDVHV WKH³Committee´ DQGWKH$G+RF*URXSDUHDXWKRUL]HGWRQHJRWLDWHPRGLI\
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or amend the form of a Vendor Agreement and to settle all or some of the Vendor Claims for less

than the face amount of such claims without further notice or hearing, each in their reasonable

business judgment.

               5.     7KH'HEWRUVVKDOOSURYLGHILYHEXVLQHVVGD\V¶QRWLFH RUDVPXFKQRWLFHDV

is reasonably practicable under the circumstances) to the advisors to the Committee and the Ad

Hoc Group prior to entering into any Vendor Agreement with a Critical Vendor on account of its

Critical Vendor Claim, which Vendor Agreement contemplates one or more payments by the

Debtors in excess of $75,000 in the aggregate.


               6.     The Debtors are authorized to pay Vendor Claims in the event no Vendor

Agreement has been executed if the Debtors determine, in the exercise of their reasonable business

judgment, if and when applicable, that a formal Vendor Agreement is prohibitive or unnecessary.

               7.     The Debtors shall maintain a matrix/schedule of payments made pursuant

to this Final Order, including the following information: (a) the names of the payee; (b) the date,

category, nature and amount of the payment; and (c) the Debtor or Debtors that made the payment.

The Debtors shall provide a copy of such matrix/schedule to counsel to the Committee and the Ad

Hoc Group on a confidential basis on January 31, 2023 and the last day of every month thereafter.

               8.     To the extent the Debtors intend to make a payment to an insider or an

affiliate of an insider of the Debtors, the Debtors shall provide three (3) business days' advance

notice to, and opportunity to object by the Committee and the Ad Hoc Group; provided, that if any

party objects to the payment, the Debtors shall not make such payment without further order of

the Court.

               9.     If, either after executing a Vendor Agreement or receiving notification of

this Final Order and the Disgorgement Procedures (as set forth in this paragraph 8), a Vendor


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accepts payment pursuant to the relief requested by the Motion and thereafter does not continue to

provide the goods and services to the Debtors on the Customary Trade Terms (regardless of

whether a Vendor Agreement has been executed), and subject to any Vendor Agreement that may

be executed between the Debtors and such Vendor, 14 days after receipt by the Vendor of a notice

of non-performance and if no objection with the Court has been filed: (i) such payment may be

deemed by the Debtors to be an improper postpetition transfer on account of a prepetition claim

and, therefore, will be immediately recoverable by the Debtors in cash upon written request;

(ii) upon recovery by the Debtors of such payment, any prepetition claim of such Vendor shall be

reinstated as if the payment by the Debtors had not been made in the first instance; and (iii) if there

exists an outstanding postpetition balance due from the Debtors to such Vendor, then the Debtors

may elect to recharacterize and apply any payment made by the Debtors to such Vendor pursuant

to the relief requested by the Motion to such outstanding postpetition balance, and such Vendor

will be required to repay to the Debtors such paid amounts exceeding the postpetition obligations

then outstanding from the Debtors to such Vendor without the right of any setoffs, claims,

provisions for payment of any claims, or otherwise.

               10.     1RWKLQJKHUHLQVKDOOLPSDLURUSUHMXGLFHWKH'HEWRUV¶DELOLW\WRFRQWHVWLQ

their sole discretion, the extent, perfection, priority, validity, or amount of any Vendor Claim.

               11.     FXUWKHUQRWKLQJKHUHLQVKDOOSUHMXGLFHWKH'HEWRUV¶DELOLW\WRVHHNDIXUWKHU

order from this Court authorizing the Debtors to exceed the aggregate amounts of any Vendor

category as set forth herein.

               12.     The Banks are authorized to receive, process, honor, and pay any and all

checks issued, or to be issued, and electronic funds transfers requested, or to be requested, by the

Debtors relating to such obligations, to the extent that sufficient funds are on deposit in available



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funds in the applicable bank accounts to cover such payments. The Banks are authorized to accept

and rely on all representations made by the Debtors with respect to which checks, drafts, wires, or

automated clearing house transfers should be honored or dishonored in accordance with this or

any other order of this Court, whether such checks, drafts, wires, or transfers are dated prior to, on,

or subsequent to the Petition Date, without any duty to inquire otherwise.

                13.     Notwithstanding anything contained in the Motion or this Order, any

payment to be made, and any relief or authorization granted herein, shall be subject to, and must

be in compliance with, the terms and conditions in any interim or final order entered by the Court

approving thH 'HEWRUV¶ HQWU\ LQWR DQ\ SRVWSHWLWLRQ GHEWRU LQ SRVVHVVLRQ ILQDQFLQJ IDFLOLW\ DQG

DXWKRUL]LQJ WKH 'HEWRUV¶ XVH RI FDVK FROODWHUDO LQFOXGLQJ DQ\ DSSURYHG EXGJHW LQ FRQQHFWLRQ

therewith (as may be updated and approved from time to time in accordance with the terms of any

VXFK LQWHULP RU ILQDO RUGHU  HDFK VXFK RUGHU D ³DIP Order´  7R WKH H[WHQW WKHUH LV DQ\

inconsistency between the terms of a DIP Order and any action taken or proposed to be taken

hereunder, the terms of the DIP Order shall control.

                14.     The Debtors are authorized, but not directed, to issue new postpetition

checks, or effect new electronic funds transfers, and to replace any prepetition checks or electronic

fund transfer requests that may be lost or dishonored or rejected as a result of the commencement

RIWKH'HEWRUV¶FKDSWHUFDVHVZLWKUHVSHFWWRDQ\SUHSHWLWLRQDPRXQWVWKDWDUHDXWKRUL]HGWREH

paid pursuant to this Final Order.

                15.     The right of the Committee to challenge, after obtaining requisite standing,

any payment made by the Debtors in violation of the Interim Order or this Final Order is expressly

reserved and shall not be prejudiced by entry of the Interim Order or this Final Order.




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                16.    Nothing contained in the Motion or this Final Order or any payment made

pursuant to the authority granted by this Final Order is intended to be or shall be deemed as (i) an

admission as to the validity of any claim against the Debtors, (ii) DZDLYHURIWKH'HEWRUV¶RUDQ\

SDUW\LQLQWHUHVW¶VULJKWVWRGLVSXWHWKHDPRXQWRIEDVLVIRURUYDOLGLW\RIDQ\FODim, (iii) a waiver

RIWKH'HEWRUV¶RUDQ\SDUW\LQLQWHUHVW¶VULJKWVXQGHUWKH%DQNUXSWF\&RGHRUDQ\RWKHUDSSOLFDEOH

nonbankruptcy law, (iv) an agreement or obligation to pay any claims, (v) a waiver of any claims

or causes of action which may exist against any creditor or interest holder, (vi) an admission as to

the validity of any liens satisfied pursuant to this Motion, or (vii) an approval, assumption,

adoption, or rejection of any agreement, contract, lease, program, and policy under section 365 of

the Bankruptcy Code.

                17.    Notice of the Motion is adequate under Bankruptcy Rule 6004(a).

                18.    Notwithstanding the provisions of Bankruptcy Rule 6004(h), this Final

Order shall be immediately effective and enforceable upon its entry.

                19.     The Debtors are authorized to take all actions necessary or appropriate to

carry out the relief granted in this Final Order.

                20.     This Court shall retain jurisdiction to hear and determine all matters arising

from or related to the implementation, interpretation, or enforcement of this Final Order.


Dated:Signed: January 23, 2023.
                            , 2023
        Houston, Texas
                                                   ____________________________________
                                                UNITED STATES
                                                   DAVID       BANKRUPTCY JUDGE
                                                         R. JONES
                                                        UNITED STATES BANKRUPTCY JUDGE




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                                                              United States Bankruptcy Court
                                                                Southern District of Texas
In re:                                                                                                                 Case No. 22-90341-drj
Core Scientific, Inc.                                                                                                  Chapter 11
Official Committee of Unsecured Creditor
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0541-4                                                  User: ADIuser                                                               Page 1 of 2
Date Rcvd: Jan 23, 2023                                               Form ID: pdf002                                                           Total Noticed: 20
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jan 25, 2023:
Recip ID                 Recipient Name and Address
db                     + Core Scientific, Inc., 210 Barton Springs Road, Suite 300, Austin, TX 78704-1251
aty                    + Matthew Ray Brooks, Troutman Pepper Hamilton Sanders LLP, 875 Third Avenue, New York, NY 10022-6225
cr                     + AmTrust North America, Inc. on behalf of Associate, c/o Maurice Wutscher LLP, 23611 Chagrin Blvd. Suite 207, Beachwood, OH
                         44122-5540
intp                   + Condair Inc., c/o John S. Collins, Vorys, Sater, Seymour and Pease LLP, 909 Fannin, Suite 2700, Houston, TX 77010-1009
cr                     + Dalton Utilities, Howley Law PLLC, 711 Louisiana Street, Ste. 1850, Houston, TX 77002-2790
cr                     + GEM Mining 1, LLC, c/o Evan N. Parrott, 11 North Water Street, Suite 24290, Mobile, AL 36602-5024
cr                     + GEM Mining 2, LLC, c/o Evan N. Parrott, 11 North Water Street, Suite 24290, Mobile, AL 36602-5024
cr                     + GEM Mining 2B, LLC, c/o Evan N. Parrott, 11 North Water Street, Suite 24290, Mobile, AL 36602-5024
cr                     + GEM Mining 3, LLC, c/o Evan N. Parrott, 11 North Water Street, Suite 24290, Mobile, AL 36602-5024
cr                     + GEM Mining 4, LLC, c/o Evan N. Parrott, 11 North Water Street, Suite 24290, Mobile, AL 36602-5024
cr                     + J.W. Didado Electric, LLC, c/o Leonard I. Pataki, Quanta Services, 4500 S. Garnett Road, Suite 100, Tulsa, OK 74146-5221
intp                   + McCarthy Building Companies, Inc., c/o Watt, Tieder, Hoffar & Fitzgerald, L, 1765 Greensboro Station Place, Suite 1000, McLean, VA
                         22102-3468
cr                     + NextEra Energy Resources, LAW/JB, 700 Universe Blvd., Juno Beach, FL 33408, UNITED STATES 33408-2657
cr                     + Pescadero Capital, LLC, Building LAW/JB, 700 Universe Blvd, Juno Beach, FL 33408, UNITED STATES 33408-2657
cr                     + Tenaska Power Services Co., c/o Ross & Smith, P.C., Attn: Jason Binford, 2003 N. Lamar Blvd., Suite 100 Austin, TX 78705-4932
cr                     + Travis County, c/o Jason A. Starks, P.O. Box 1748, Austin, TX 78767-1748
intp                   + U.S. Bank National Association, as Prepetition Not, c/o Shipman & Goodwin LLP, One Constitution Plaza, Hartford, CT 06103-1803

TOTAL: 17

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
cr                     + Email/Text: beanland@mssattorneys.com
                                                                                        Jan 23 2023 20:21:00      BEAM Concrete Construction, Inc., c/o Misti L.
                                                                                                                  Beanland, 8131 LBJ Freeway, Suite 700, Dallas,
                                                                                                                  TX 75251-1352
cr                     + Email/Text: dallas.bankruptcy@LGBS.com
                                                                                        Jan 23 2023 20:21:00      Dallas County, Linebarger Goggan Blair &
                                                                                                                  Sampson, LLP, c/o John K. Turner, 2777 N.
                                                                                                                  Stemmons Freeway, Suite 1000, Dallas, TX
                                                                                                                  75207-2328
cr                     + Email/Text: neil.orleans@judithwross.com
                                                                                        Jan 23 2023 20:21:00      Tenaska Power Services Co., c/o Ross & Smith,
                                                                                                                  P.C., Attn: Judith W. Ross, 700 N. Pearl Street,
                                                                                                                  Suite 1610, Dallas, TX 75201-7459

TOTAL: 3


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
cr                             36th Street Capital Partners, LLC
cr                             Ad Hoc Group of Secured Convertible Noteholders
cr                             Anchorage Lending CA, LLC
cr                             Barings BDC, Inc.
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District/off: 0541-4                                               User: ADIuser                                            Page 2 of 2
Date Rcvd: Jan 23, 2023                                            Form ID: pdf002                                        Total Noticed: 20
cr                               Barings Capital Investment Corporation
cr                               Barings Private Credit Corp.
cr                               BlockFi Lending LLC
cr                               BlockFi, Inc. and its affiliated entities
cr                               Bremer Bank
cr                               CEC Energy Services LLC
cr                               Celsius Mining, LLC
cr                               City of Denton
intp                             Harper Construction Company, Inc.
cr                               Huband-Mantor Construction, Inc.
cr                               Humphrey & Associates, Inc.
cr                               MP2 Energy Texas LLC d/b/a Shell Energy Solutions
cr                               Marnoy Interests, Ltd. d/b/a Office Pavilion
cr                               MassMutual Asset Finance, LLC
cr                               NYDIG ABL LLC
crcm                             Official Committee of Unsecured Creditors
cr                               Prime Alliance Bank, Inc.
cr                               Priority Power Management, LLC
intp                             SRPF A QR Riversouth LLC
cr                               Sphere 3D Corp.
cr                               Texas Capitalization Resource Group, Inc., 5201 Camp Bowie Blvd. Suite 200, Fort Worth
intp                             Trinity Capital Inc.
cr                               Wingspire Equipment Finance, LLC

TOTAL: 27 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 25, 2023                                        Signature:          /s/Gustava Winters
